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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                 v.                              )
                                                 )
 RICHARD W. GATES III,                           )             Crim. No. 17-201-2 (ABJ)
                                                 )
                 Defendant.                      )


DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION FOR PERMISSION
                          TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to travel with his children

during their spring break, specified in Exhibit 1, which will take place outside the jurisdiction of

his release conditions. The Special Counsel does not oppose this motion.

       If the Court grants the limited permission to travel for the trip, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trip, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves the Court to grant him permission

to travel according to the limits specified above and in Exhibit 1.


                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
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                                  Attorney for Richard W. Gates III




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